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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF CONNECTICUT

GAYLA FRANCIS,                 )
                               )
          Plaintiff,           )
                               )
v                              ) Case No.: 3:15-cv-01577 VAB
                               )
PORTFOLIO RECOVERY ASSOCIATES,
LLC,                           )
                               )
          Defendant.           )
                               )

                     NOTICE OF VOLUNTARY DISMISSAL


TO THE CLERK:

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff voluntarily

dismisses the Complaint with prejudice.




Dated: February 3, 2016                    BY: /s/ Angela K. Troccoli
                                           Angela K. Troccoli, Esquire
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                                           Attorney for Plaintiff
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                                 Certificate of Service

       I hereby certify that on this 3rd day of February, 2016, a true and correct copy of

the foregoing pleading served via mail to the below:


       Keith S. McGurgan, Esq.
       General Counsel
       Portfolio Recovery Associates
       140 Corporate Boulevard
       Norfolk, VA 23502
       Email: kmcgurgan@portfoliorecovery.com



                                             /s/ Angela K. Troccoli
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